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LOWENSTEIN SANDLER LLP
Kenneth A. Rosen, Esq. (krosen@lowenstein.com)
Michael S. Etkin, Esq. (metkin@lowenstein.com)
Paul Kizel, Esq. (pkizel@lowenstein.com)
Jeffrey Cohen, Esq. (jcohen@lowenstein.com) (pro hac vice pending)
Philip J. Gross, Esq. (pgross@lowenstein.com)
One Lowenstein Drive
Roseland, New Jersey 07068
(973) 597-2500 (Telephone)
(973) 597-2400 (Facsimile)

Proposed Counsel to the Debtors and
Debtors-in-Possession

                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY


  In re:                                            Chapter 11

  ACETO CORPORATION,                                Case No. 19-13448

                         Debtor.


  In re:                                            Chapter 11

  Aceto Agricultural Chemicals Corporation,         Case No. 19-13449

                         Debtor.


  In re:                                            Chapter 11

  Rising Pharmaceuticals, Inc.,                     Case No. 19-13447

                         Debtor.


  In re:                                            Chapter 11

  PACK Pharmaceuticals, LLC,                        Case No. 19-13453

                         Debtor.




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 In re:
                                                        Chapter 11
 Rising Health, LLC,
                                                        Case No. 19-13451
                          Debtor.


 In re:                                                 Chapter 11

 Acetris Health, LLC,                                   Case No. 19-13452

                          Debtor.


 In re:                                                 Chapter 11

 Arsynco, Inc.,                                         Case No. 19-13454

                          Debtor.


 In re:                                                 Chapter 11

 Aceto Realty LLC,                                      Case No. 19-13450

                          Debtor.


 In re:                                                 Chapter 11

 Acci Realty Corp.,                                     Case No. 19-13455

                          Debtor.


 DEBTORS’ MOTION FOR AN ORDER PURSUANT TO BANKRUPTCY RULE 1015
 DIRECTING JOINT ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

          The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), by

and through their undersigned proposed counsel, hereby submit this motion (the “Motion”) for

entry of an order, substantially in the form submitted herewith, directing the joint administration

of the Debtors’ above-captioned chapter 11 cases for procedural purposes only pursuant to Rule




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1015 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). In support of this

Motion, the Debtors submit the Declaration of Rebecca A. Roof in Support of First Day Relief

(the “First Day Declaration”),1 filed with the Court contemporaneously herewith. In further

support of this Motion, the Debtors respectfully represent as follows:

                 JURISDICTION, VENUE, AND STATUTORY PREDICATES

        1.       This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334 and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United

States District Court for the District of New Jersey, entered on July 23, 1984, and amended on

September 18, 2012 (Simandle, C.J.). This matter is a core proceeding within the meaning of 28

U.S.C. § 157(b)(2).

        2.       Venue is proper in this district under 28 U.S.C. §§ 1408 and 1409.

        3.       The statutory predicate for the relief sought herein is Bankruptcy Rule 1015.
                                              BACKGROUND

        4.       On the date hereof (the “Petition Date”), each of the above-captioned Debtors

filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code, thereby initiating

the above-captioned chapter 11 cases (the “Chapter 11 Cases”). The Debtors continue to operate

their businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No party has requested the appointment of a trustee or examiner and no
committee has been appointed in these Chapter 11 Cases.

        5.       Aceto Corporation, together with its debtor and non-debtor domestic and foreign

affiliates (collectively, “Aceto” or the “Company”), has business operations in ten countries and
is engaged in the development, marketing, sales and distribution of finished dosage form generic

pharmaceuticals, nutraceutical products, pharmaceutical active ingredients and intermediates,

specialty performance chemicals inclusive of agricultural intermediates and agricultural

protection products.

1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
Declaration.


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        6.     The business is organized along product lines into three segments: Human Health,

Pharmaceutical Ingredients, and Performance Chemicals. Products that fall within the Human

Health segment include finished dosage form generic drugs and nutraceutical products. The

Company sells generic prescription products and over-the-counter pharmaceutical products to

leading wholesalers, chain drug stores, distributors and mass merchandisers. The Pharmaceutical

Ingredients segment has two product groups: Active Pharmaceutical Ingredients (APIs) and

Pharmaceutical Intermediates. Generally, the API group supplies APIs to many of the major

generic drug companies, who the Company views as valued partners in their effort to develop

and market generics.        The Pharmaceutical Intermediates business involves supplying

pharmaceutical intermediates, the complex chemical compounds that are the building blocks

used in producing APIs, to pharmaceutical manufacturers. These are the critical components of

all drugs, whether they are already on the market or currently undergoing clinical trials. Lastly,

the Performance Chemicals segment involves supplying (a) different industrial segments with

specialty chemicals used in the manufacture of plastics, surface coatings, cosmetics and personal

care, textiles, fuels and lubricants; and (b) agricultural protection products, such as herbicides,

fungicides and insecticides which control weed growth as well as the spread of insects and

microorganisms that can severely damage plant growth.

        7.     Additional details regarding the Debtors’ businesses and the facts and

circumstances supporting the relief requested herein are set forth in the First Day Declaration,

which was filed contemporaneously with this Motion and is incorporated herein by reference.
                                    RELIEF REQUESTED

        8.     By this Motion, the Debtors request entry of an order, substantially in the form

submitted herewith, directing the joint administration of the Debtors’ Chapter 11 Cases for

procedural purposes only pursuant to Bankruptcy Rule 1015. Specifically, the Debtors request

that the Court maintain one file and one docket for each of the jointly-administered cases. The

Debtors propose to designate the Chapter 11 Case of Aceto Corporation as the lead bankruptcy

case.

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         9.      Accordingly, the Debtors request that the Chapter 11 Cases be administered under

the following consolidated caption:

                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY


In re:                                                       Chapter 11

ACETO CORPORATION, et al.,1                                  Case No. 19-13448

                          Debtors.                           (Jointly Administered)


         10.     The Debtors also request that a docket entry be made in each of the above-

captioned cases, substantially similar to the following, to reflect the joint administration of the

Chapter 11 Cases:


                 An order has been entered in accordance with Rule 1015 of the Federal
                 Rules of Bankruptcy Procedure directing joint administration of the
                 chapter 11 cases of Aceto Corporation, Aceto Agricultural Chemicals
                 Corporation, Rising Pharmaceuticals, Inc., PACK Pharmaceuticals, LLC,
                 Rising Health, LLC, Acetris Health, LLC, Arsynco, Inc., Aceto Realty
                 LLC, and Acci Realty Corp. for procedural purposes only. All further
                 filings and docket entries shall be made in the chapter 11 case of Aceto
                 Corporation, Case No. 19-13448.

         11.     The Debtors will file consolidated monthly operating reports, but will separately
set forth disbursements for each Debtor as a schedule to the extent required by the United States

Trustee Operating Guidelines, with said reports to be filed in the lead case, rather than in each of

the Debtor’s individual cases.

         12.     Finally, for purposes of efficiency and in order to streamline notice of all matters

that may affect creditors of any of the Debtors, the Debtors request authority to file a single


1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
as follows: Aceto Corporation (0520); Aceto Agricultural Chemicals Corporation (3948); Aceto Realty LLC (7634);
Rising Pharmaceuticals, Inc. (7959); Rising Health, LLC (1562); Acetris Health, LLC (3236); PACK
Pharmaceuticals, LLC (2525); Arsynco, Inc. (7392); and Acci Realty Corp. (4433). 



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consolidated list of the 30 largest creditors in each of the Chapter 11 Cases.
                                      BASIS FOR RELIEF

       13.     Bankruptcy Rule 1015(b) provides that “[i]f a joint petition or two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015.

       14.     The Debtors in these Chapter 11 Cases are Aceto Corporation, Aceto Agricultural

Chemicals Corporation, Rising Pharmaceuticals, Inc., PACK Pharmaceuticals, LLC, Rising

Health, LLC, Acetris Health, LLC, Arsynco, Inc., Aceto Realty LLC, and Acci Realty Corp.

The Debtors are “affiliates” as defined under section 101(2) of the Bankruptcy Code and as used

in Bankruptcy Rule 1015(b).

       15.     Bankruptcy Rule 1015 promotes the fair and efficient administration of multiple

cases of affiliated debtors while protecting the rights of individual creditors. See In re N.S.

Garrott & Sons, 63 B.R. 189, 191 (Bankr. E.D. Ark. 1986); In re Hemingway Transp., 954 F.2d

1, 11 (1st Cir. 1992).

       16.     These Chapter 11 Cases should be administered jointly because joint

administration will obviate the need for duplicative notices, motions, and orders, and thereby

save considerable time and expense for the Debtors, their estates, and the Court.

       17.     The Debtors anticipate that numerous notices, motions, other pleadings, hearings,

and orders in these Chapter 11 Cases will affect more than one of the Debtors. The failure to

jointly administer these cases would result in the filing and service of numerous duplicative

pleadings. Such duplication of substantially identical documents would be wasteful.

       18.     Joint administration will permit the Clerk of the Court to use a single general

docket for each of the Debtors’ cases and to combine notices to creditors of each Debtor’s estate

and other parties-in-interest. Joint administration will also protect parties-in-interest by ensuring

that parties-in-interest in each Chapter 11 Case will be apprised of the various matters before the

Court in the Chapter 11 Cases. Likewise, joint administration will ease the burden on the office

of the United States Trustee for the District of New Jersey in supervising these Chapter 11 Cases.

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         19.   The rights of the respective creditors of the Debtors will not be adversely affected

by the proposed joint administration of these Chapter 11 Cases because each creditor may still

file its claim against a particular Debtor and other substantive rights of creditors will not be

impaired in any way by virtue of joint administration. In fact, the rights of all creditors will be

enhanced by the reduced costs that will result from the joint administration of these Chapter 11

Cases.    The Court will also be relieved of the burden of entering duplicative orders and

maintaining redundant files.

         20.   The Debtors also submit that supervision of the administrative aspects of these

Chapter 11 Cases by the Office of the United States Trustee will be simplified if the cases are

jointly administered as requested herein.

         21.   Finally, the Debtors submit that filing a single consolidated list of the top 30

creditors in each of the Chapter 11 Cases is an efficient use of estate resources and will not

impact or prejudice the rights of any party.
         22.   Courts in this District routinely order the joint administration of chapter 11 cases

involving multiple, related debtor entities. See, e.g., In re Frank Theatres Bayonne/South Cove,

LLC, No. 18-34808 (SLM) (Bankr. D.N.J. Dec. 21, 2018); In re RWRF, Inc., No. 17-32958

(JKS) (Bankr. D.N.J. Nov. 15, 2017); In re Mountain Creek Resort, Inc., No. 17-19899 (SLM)

(Bankr. D.N.J. May 17, 2017); In re Cinram Group, Inc., No. 17-15258 (VFP) (Bankr. D.N.J.

Mar. 24, 2017).     For the foregoing reasons, the Debtors respectfully submit that the joint

administration of their Chapter 11 Cases is appropriate and should be directed.
                          WAIVER OF MEMORANDUM OF LAW

         23.   The Debtors respectfully request that the Court waive the requirement to file a

separate memorandum of law pursuant to D.N.J. LBR 9013-1(a)(3) because the legal basis upon

which the Debtors rely is incorporated herein and the Motion does not raise any novel issues of

law.

                WAIVER OF BANKRUPTCY RULES 6004(a) AND 6004(h)

         24.   The Debtors seek a waiver of (i) the notice requirements under Bankruptcy Rule


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6004(a), and (ii) the stay of the order authorizing the use, sale, or lease of property under

Bankruptcy Rule 6004(h), to the extent they are applicable, because the relief requested herein is

necessary to avoid immediate and irreparable harm.

                                       NO PRIOR REQUEST

       25.     No previous motion for the relief sought herein has been made to this or to any

other court.

                                  RESERVATION OF RIGHTS

       26.     Neither the contents of this Motion nor any actions taken by the Debtors pursuant

to any relief granted in the proposed orders are intended or should be construed as: (a) admission

as to the amount of, basis for, or validity of any claim against the Debtors under the Bankruptcy

Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ rights to dispute any

particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication or admission that any particular claim is of a type specified or defined in this Motion;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’ rights,

claims, or causes of action under the Bankruptcy Code or any other applicable law; or (g) a

concession by the Debtors that any liens (contractual, common law, statutory, or otherwise) are

valid, and the Debtors expressly reserve their rights to contest the extent, validity, or perfection

or seek avoidance of all such liens.

                                            NOTICE

       27.     Notice of this Motion has been given to (i) the Office of the United States Trustee

for the District of New Jersey; (ii) the Internal Revenue Service; (iii) the New Jersey Division of

Taxation Compliance and Enforcement - Bankruptcy Unit; (iv) the Office of the Attorney

General of the State of New Jersey, Division of Law; (v) the United States Attorney’s Office for

the District of New Jersey; (vi) the New York State Department of Taxation and Finance; (vii)

the Office of the Attorney General of the State of New York; (viii) the United States Attorney’s

Office for the Eastern District of New York; (ix) the Securities and Exchange Commission, New


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York Regional Office; (x) McGuireWoods LLP, c/o Kenneth Noble, Esq., as counsel for the DIP

Agent and Prepetition Agent; (xi) the Indenture Trustee for the Noteholders; (xii) the Debtors’

thirty largest unsecured creditors on a consolidated basis; and (xiii) all parties that have requested

to receive notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested

herein, the Debtors respectfully submit that no other or further notice is required.

                                          CONCLUSION

       WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form submitted herewith, granting the relief requested in the Motion and such

other and further relief as may be just and proper.


Dated: February 19, 2019                       Respectfully submitted,

                                               LOWENSTEIN SANDLER LLP

                                               /s/ Kenneth A. Rosen
                                               Kenneth A. Rosen, Esq.
                                               Michael S. Etkin, Esq.
                                               Paul Kizel, Esq.
                                               Jeffrey Cohen, Esq. (pro hac vice pending)
                                               Philip J. Gross, Esq.
                                               One Lowenstein Drive
                                               Roseland, New Jersey 07068
                                               (973) 597-2500 (Telephone)
                                               (973) 597-2400 (Facsimile)
                                               krosen@lowenstein.com
                                               metkin@lowenstein.com
                                               pkizel@lowenstein.com
                                               jcohen@lowenstein.com
                                               pgross@lowenstein.com

                                               Proposed Counsel to the Debtors and
                                               Debtors-in-Possession




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